            Case: 1:09-cr-00140-SSB Doc #: 170 Filed: 03/16/15 Page: 1 of 1 PAGEID #: 1440
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(cX2)        Page 1 of 2 (Page2 Not for Public Disclosure)


                                       United States District Court
                                                                       for the

                                                           Southern District of Ohio


                   United States of America
                                  v.
                Jesus Ignacio Rodriguez-Camacho
                                                                              Case No:        l:09-CR-140-02

                                                                              USM No:        04961-061
Date of Original Judgment:                       10-07-2010
Date of Previous Amended Judgment:                                            Gordon G. Hobson, Esq.
(Use Date ofLast AmendedJudgment ifAny)                                       Defendant's Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                          PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of X the defendant O the Director ofthe Bureau of Prisons O the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
          0 DENIED. X GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
the lastjudgment issued) of 170 months       months is reduced to              136 months               .
                                             (Complete Parts I and II ofPage 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                    10^07-2010               shall remain in effect.

IT IS SO ORDERED.


Order Date:              March /fl>, 2015

Effective Date:         November 1,2015                                            Sandra S. Beckwith, Senior District Judge
                     (ifdifferentfrom order date)                                                 Printed name and title
